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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                  Plaintiffs,                               4:12CR3140
     vs.
                                                 MEMORANDUM AND ORDER
GRADY GARTMAN,
                  Defendant.


     IT IS ORDERED:

     1)    The defendant’s motion, (filing no. 22), is hereby granted.

     2)    The custody of Grady Gartman shall be temporarily transferred on February
           5, 2013, to staff at the Federal Public Defenders Office so the defendant can
           participate in an interview to be conducted at 10:30 a.m. at the Lincoln
           Federal Defender’s Office.

     3)    The Defendant is not permitted to leave the Lincoln Federal Building and
           will be returned to the U.S. Marshal’s Office immediately following the
           interview.

     January 31, 2013.

                                              BY THE COURT:
                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
